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   EXHIBIT C
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                Form5500                          Annual Return/Report of Employee Benefit Plan                                                      OMB Nos. 1210-0110
                                                                                                                                                              1210-0089
                                                  This form is required to be filed for employee benefit plans under sections 104
              Department of the Treasury         and 4065 of the Employee Retirement Income Security Act of 1974 (ERISA) and
               Internal Revenue Service
                                                sections 6047(e), 6057(b), and 6058(a) of the Internal Revenue Code (the Code) .
                Department of Labor
                                                                                                                                                  2013
              Employee Benefits Security                            Complete all entries in accordance with
                    Administration                                   the instructions to the Form 5500.
         Pension Benefit Guaranty Corporation
                                                                                                                                       This Form is Open to Public
                                                                                                                                               Inspection
I    Part I      I
               Annual Report Identification Information
    For calendar plan year 2013 or fiscal plan year beginning 0 7 I 01/2 013                                 and ending             06/30/2014
    A This return/report is for:                   0 a multiemployer plan;                 0 a multiple-employer plan; or
                                                   ~ a single-employer plan ;              0 a DFE (specify) _
    8    This return/report is:                    0 the first return/report;            0 the final return/report;
                                                   0 an amended return/report;           0 a short plan year return/report (less than 12 months) .
    C If the plan is a collectively-bargained plan, check here................ . ......... . .......... . ...... .. . .. ... . ...... . ~ 0
    D Check box if filing under:                 eg Form 5558;                           0 automatic extension;                       0 the DFVC program;
                                                 0 special extension (enter description)
I       Part II      I
                   Basic Plan Information-enter all requested information
    1a   Name of plan                                                                                                                    1b Three-digit plan
                                                                                                                                            number (PN) ~
                                                                                                                                                                  I0 01
          YALE UNIVERSITY RETIREMENT ACCOUNT PLAN
                                                                                                                                         1c Effective date of plan
                                                                                                                                         10/01/1920
    2a Plan sponsor's name and address; include room or suite number (employer, if for a single-employer plan)                           2b Employer Identification
       YALE UNIVERSITY                                                                                                                      Number (EIN)
                                                                                                                                         XX-XXXXXXX

          CONTROLLERS OFFICE                                                                                                             2c Sponsor's telephone
                                                                                                                                            number
          PO BOX 208372
                                                                                                                                         203-432-5788
                                                                                                                                         2d Business code (see
          NEW HAVEN                             CT 06520-8372                                                                               instructions)
                                                                                                                                         611000




    Caution: A penalty for the late or incomplete filing of this return/report will be assessed unless reasonable cause is established.
    Under penalties of perjury and other penalties set forth in the instructions, I declare that! have examined this return/repor:t , including accompanying schedules,
    statements and attachments, as well as the electronic version of this return/report, and to the best of my knowledge and belief, it is true, correct, and complete.


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                         ~.,~-~ 7J.r:'s~                                           04/13/2015           Michael Peel
               ~ature of plan administrator
          ,                                                                         Date                 Enter name of individual siQninQ as plan administrator

    SIGN
    HERE
                Signature of employer/plan sponsor                                  Date                 Enter name of individual signing as employer or plan sponsor

    SIGN
    HERE
              Signature of DFE                                                   Date                Enter name of individual signing as DFE
    Preparer's name (including firm name, if applicable) and address; include room or suit!j number. (optional)              Preparer's telephone number
                                                                                                                             (optional)




    For Paperwork Reduct1on Act Not1ce and OMB Control Numbers, see the mstructlons for Form 5500.                                                   Form 5500 (2013)




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         Schedule C (Fonn 5500) 2013                                                  1 x
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               (b) Enter name and EIN or address of person who provided you disclosures on eligible indirect compensation
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 answered “Yes” to line 1a above, complete as many entries as needed to list each person




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                                               formula used to determine the service provider’s eligibility




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a                                         ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
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a                                         ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
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c                             d               e
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a                           ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
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c                   d           e
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c                   d           e
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a                           ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
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c                   d           e
    123456789-123           1                                             -123456789012345




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    Part II   Information on Participating Plans (to be completed by DFEs)

                     ABCDEFGHI    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
    a
                     ABCDEFGHI    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
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                     ABCDEFGHI    ABCDEFGHI                                           123456789-123
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    b                ABCDEFGHI    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI   c
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    b                ABCDEFGHI    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI   c
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    b                ABCDEFGHI    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI   c
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    a
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    b                ABCDEFGHI    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI   c
                     ABCDEFGHI    ABCDEFGHI                                           123456789-123




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                                                                                                                                                                 OMB No. 1210-0110
          SCHEDULE H                                                                    Financial Information
             (Form 5500)
           Department of the Treasury
                                                             This schedule is required to be filed under section 104 of the Employee                                 2013
            Internal Revenue Service                       Retirement Income Security Act of 1974 (ERISA), and section 6058(a) of the
            Department of Labor
                                                                               Internal Revenue Code (the Code).
   Employee Benefits Security Administration
                                                                                          File as an attachment to Form 5500.                             This Form is Open to Public
     Pension Benefit Guaranty Corporation                                                                                                                         Inspection
For calendar plan year 2013 or fiscal plan year beginning                                                              and ending                
A Name of plan                                                                                                                        B       Three-digit
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
  =%0)92-:)67-8=6)8-6)1)28%''392840%2                                                                                                     plan number (PN)                       001
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
ABCDEFGHI ABCDEFGHI
C                                                                                                                                     D Employer Identification Number (EIN)
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                              012345678
  =%0)92-:)67-8=
ABCDEFGHI                                                                                                                             
Part I     Asset and Liability Statement
1 Current value of plan assets and liabilities at the beginning and end of the plan year. Combine the value of plan assets held in more than one trust. Report
   the value of the pl                                                                                        -by-line basis unless the value is reportable on
   lines 1c(9) through 1c(14). Do not enter the value of that portion of an insurance contract which guarantees, during this plan year, to pay a specific dollar
   benefit at a future date. Round off amounts to the nearest dollar. MTIAs, CCTs, PSAs, and 103-12 IEs do not complete lines 1b(1), 1b(2), 1c(8), 1g, 1h,
   and 1i. CCTs, PSAs, and 103-12 IEs also do not complete lines 1d and 1e. See instructions.
                                                  Assets                                                                         (a) Beginning of Year               (b) End of Year
a Total noninterest-bearing cash ......................................................................                 1a       -123456789012345                -123456789012345
b Receivables (less allowance for doubtful accounts):
     (1) Employer contributions..........................................................................              1b(1)     -123456789012345
                                                                                                                                                          -123456789012345
                                                                                                                                                                           
     (2) Participant contributions ........................................................................            1b(2)     -123456789012345
                                                                                                                                                          -123456789012345
                                                                                                                                                                           
     (3) Other.....................................................................................................    1b(3)     -123456789012345
                                                                                                                                                          -123456789012345
                                                                                                                                                                            
c General investments:
     (1) Interest-bearing cash (include money market accounts & certificates
                                                                                                                       1c(1)     -123456789012345                -123456789012345
          of deposit)............................................................................................
     (2) U.S. Government securities ..................................................................                 1c(2)     -123456789012345                -123456789012345
     (3) Corporate debt instruments (other than employer securities):
           (A) Preferred ........................................................................................     1c(3)(A)   -123456789012345                -123456789012345
           (B) All other ..........................................................................................   1c(3)(B)   -123456789012345                -123456789012345
     (4) Corporate stocks (other than employer securities):
           (A) Preferred ........................................................................................     1c(4)(A)   -123456789012345                -123456789012345
           (B) Common.........................................................................................        1c(4)(B)   -123456789012345                -123456789012345
     (5) Partnership/joint venture interests .........................................................                 1c(5)     -123456789012345                -123456789012345
     (6) Real estate (other than employer real property).....................................                          1c(6)     -123456789012345                -123456789012345
     (7) Loans (other than to participants) ..........................................................                 1c(7)     -123456789012345                -123456789012345
     (8) Participant loans....................................................................................         1c(8)     -123456789012345                -123456789012345
     (9) Value of interest in common/collective trusts .........................................                       1c(9)     -123456789012345                -123456789012345
    (10) Value of interest in pooled separate accounts .......................................                        1c(10)     -123456789012345
                                                                                                                                                         -123456789012345
                                                                                                                                                                         
    (11) Value of interest in master trust investment accounts ............................                           1c(11)     -123456789012345                -123456789012345
    (12) Value of interest in 103-12 investment entities.......................................                       1c(12)     -123456789012345                -123456789012345
    (13) Value of interest in registered investment companies (e.g., mutual
         funds)....................................................................................
                                                                                                                      1c(13)     -123456789012345
                                                                                                                                                       -123456789012345
                                                                                                                                                                        
    (14) Value of funds held in insurance company general account (unallocated
         contracts)..............................................................................................
                                                                                                                      1c(14)     -123456789012345
                                                                                                                                                        -123456789012345
                                                                                                                                                                         
    (15) Other.....................................................................................................   1c(15)     -123456789012345                -123456789012345

For Paperwork Reduction Act Notice and OMB Control Numbers, see the instructions for Form 5500                                                              Schedule H (Form 5500) 2013




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1d Employer-related investments:                                                                                                                (a) Beginning of Year     (b) End of Year
      (1) Employer securities..................................................................................            1d(1)                -123456789012345        -123456789012345
      (2) Employer real property .............................................................................             1d(2)                -123456789012345        -123456789012345
1e Buildings and other property used in plan operation .......................................                              1e                  -123456789012345        -123456789012345
1f Total assets (add all amounts in lines 1a through 1e) .....................................                               1f                 -123456789012345
                                                                                                                                                              -123456789012345
                                                                                                                                                                              
                                           Liabilities
1g Benefit claims payable....................................................................................               1g                  -123456789012345        -123456789012345
1h Operating payables ........................................................................................              1h                  -123456789012345        -123456789012345
1i Acquisition indebtedness................................................................................                  1i                 -123456789012345        -123456789012345
1j Other liabilities................................................................................................         1j                 -123456789012345       -123456789012345
1k Total liabilities (add all amounts in lines 1g through1j) ....................................                           1k                  -123456789012345       -123456789012345
                                         Net Assets
1l Net assets (subtract line 1k from line 1f).........................................................                       1l                 -123456789012345
                                                                                                                                                              -123456789012345
                                                                                                                                                                              

 Part II Income and Expense Statement
2 Plan income, expenses, and changes in net assets for the year. Include all income and expenses of the plan, including any trust(s) or separately maintained
     fund(s) and any payments/receipts to/from insurance carriers. Round off amounts to the nearest dollar. MTIAs, CCTs, PSAs, and 103-12 IEs do not complete
     lines 2a, 2b(1)(E), 2e, 2f, and 2g.
                                                   Income                                                                                           (a) Amount               (b) Total
 a Contributions:
      (1) Received or receivable in cash from: (A) Employers.................................                             2a(1)(A)              -123456789012345
                                                                                                                                                        
            (B) Participants ......................................................................................       2a(1)(B)              -123456789012345
                                                                                                                                                        
            (C) Others (including rollovers)...............................................................               2a(1)(C)              -123456789012345
                                                                                                                                                        
      (2) Noncash contributions ..............................................................................             2a(2)                -123456789012345
      (3) Total contributions. Add lines 2a(1)(A), (B), (C), and line 2a(2).................                               2a(3)                                        -123456789012345
                                                                                                                                                                               
 b Earnings on investments:
      (1) Interest:
          (A) Interest-bearing cash (including money market accounts and
               certificates of deposit).......................................................................
                                                                                                                          2b(1)(A)              -123456789012345
            (B) U.S. Government securities ..............................................................                 2b(1)(B)              -123456789012345
            (C) Corporate debt instruments ..............................................................                 2b(1)(C)              -123456789012345
            (D) Loans (other than to participants) .....................................................                  2b(1)(D)              -123456789012345
            (E) Participant loans ...............................................................................         2b(1)(E)              -123456789012345
            (F) Other ................................................................................................    2b(1)(F)              -123456789012345
                                                                                                                                                        
            (G) Total interest. Add lines 2b(1)(A) through (F)....................................                        2b(1)(G)                                      -123456789012345
                                                                                                                                                                                
      (2) Dividends: (A) Preferred stock..................................................................                2b(2)(A)              -123456789012345
            (B) Common stock..................................................................................            2b(2)(B)              -123456789012345
            (C) Registered investment company shares (e.g. mutual funds) .............                                    2b(2)(C)                      
            (D) Total dividends. Add lines 2b(2)(A), (B), and (C)                                                         2b(2)(D)                                      -123456789012345
                                                                                                                                                                                
      (3) Rents........................................................................................................    2b(3)                                        -123456789012345
      (4) Net gain (loss) on sale of assets: (A) Aggregate proceeds ......................                                2b(4)(A)              -123456789012345
            (B) Aggregate carrying amount (see instructions) ...................................                          2b(4)(B)              -123456789012345
            (C) Subtract line 2b(4)(B) from line 2b(4)(A) and enter result .................                              2b(4)(C)                                      -123456789012345
      (5) Unrealized appreciation (depreciation) of assets: (A) Real estate........................                       2b(5)(A)              -123456789012345
            (B) Other ................................................................................................    2b(5)(B)              -123456789012345
            (C) Total unrealized appreciation of assets.
                Add lines 2b(5)(A) and (B)................................................................
                                                                                                                          2b(5)(C)                                      -123456789012345




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                                                                                                                                                        (a) Amount            (b) Total
      (6) Net investment gain (loss) from common/collective trusts .........................                                 2b(6)                                        -123456789012345
      (7) Net investment gain (loss) from pooled separate accounts .......................                                   2b(7)                                        -123456789012345
                                                                                                                                                                                  
      (8) Net investment gain (loss) from master trust investment accounts............                                       2b(8)                                        -123456789012345
      (9) Net investment gain (loss) from 103-12 investment entities ......................                                  2b(9)                                        -123456789012345
     (10) Net investment gain (loss) from registered investment
          companies (e.g., mutual funds).................................................................
                                                                                                                            2b(10)                                        -123456789012345
                                                                                                                                                                                 
 c Other income..................................................................................................              2c                                         -123456789012345
                                                                                                                                                                                   
 d Total income. Add all income amounts in column (b) and enter total.....................                                     2d                                         -123456789012345
                                                                                                                                                                                 
                                        Expenses
 e Benefit payment and payments to provide benefits:
      (1) Directly to participants or beneficiaries, including direct rollovers..............                                2e(1)                   -123456789012345
                                                                                                                                                            
      (2) To insurance carriers for the provision of benefits.....................................                           2e(2)                   -123456789012345
                                                                                                                                                              
      (3) Other........................................................................................................      2e(3)                   -123456789012345
      (4) Total benefit payments. Add lines 2e(1) through (3)..................................                              2e(4)                                        -123456789012345
                                                                                                                                                                                 
 f    Corrective distributions (see instructions) .......................................................                       2f                                        -123456789012345
 g    Certain deemed distributions of participant loans (see instructions) ................                                    2g                                         -123456789012345
 h    Interest expense.............................................................................................            2h                                         -123456789012345
 i    Administrative expenses: (1) Professional fees..............................................                            2i(1)                  -123456789012345
                                                                                                                                                               
      (2) Contract administrator fees.......................................................................                  2i(2)                  -123456789012345
      (3) Investment advisory and management fees..............................................                               2i(3)                  -123456789012345
      (4) Other........................................................................................................       2i(4)                  -123456789012345
                                                                                                                                                                 
      (5) Total administrative expenses. Add lines 2i(1) through (4)........................                                  2i(5)                                       -123456789012345
                                                                                                                                                                                    
 j Total expenses. Add all expense amounts in column (b) and enter total ........                                               2j                                        -123456789012345
                                                                                                                                                                                 
                  Net Income and Reconciliation
 k Net income (loss). Subtract line 2j from line 2d...........................................................                 2k                                         -123456789012345
                                                                                                                                                                                 
 l Transfers of assets:
      (1) To this plan...............................................................................................         2l(1)                                       -123456789012345
      (2) From this plan ..........................................................................................           2l(2)                                       -123456789012345

 Part III
3 Complete lines 3a through 3c if the opinion of an independent qualified public accountant is attached to this Form 5500. Complete line 3d if an opinion is not
     attached.
 a The attached opinion of an independent qualified public accountant for this plan is (see instructions):
       (1) X Unqualified        (2) X Qualified          X Disclaimer
                                                     (3) <                    (4) X Adverse
 b Did the accountant perform a limited scope audit pursuant to 29 CFR 2520.103-8 and/or 103-12(d)?                                X
                                                                                                                                   < Yes                                             X No
 c Enter the name and EIN of the accountant (or accounting firm) below:
        (1) Name: ABCDEFGHI
                    +6%288,362832   ABCDEFGHI ABCDEFGHI ABCD                                       (2) EIN: 123456789
                                                                                                              
 d The opinion of an independent qualified public accountant is not attached because:
        (1) X This form is filed for a CCT, PSA, or MTIA.    (2) X It will be attached to the next Form 5500 pursuant to 29 CFR 2520.104-50.

 Part IV Compliance Questions
4    CCTs and PSAs do not complete Part IV. MTIAs, 103-12 IEs, and GIAs do not complete lines 4a, 4e, 4f, 4g, 4h, 4k, 4m, 4n, or 5.
       103-12 IEs also do not complete lines 4j and 4l. MTIAs also do not complete line 4l.
       During the plan year:                                                                                                                                 Yes     No       Amount
 a     Was there a failure to transmit to the plan any participant contributions within the time
       period described in 29 CFR 2510.3-
                                                                tary Fiduciary Correction Program.) .....                                              4a            <    -123456789012345
 b     Were any loans by the plan or fixed income obligations due the plan in default as of the
       close of the plan year or classified during the year as uncollectible? Disregard participant loans

       checked.)..................................................................................................................................     4b            <    -123456789012345


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                                                                                                                                                            Yes       No              Amount
   c    Were any leases to which the plan was a party in default or classified during the year as
        uncolle                                                                     .............................                                      4c              <          -123456789012345
   d    Were there any nonexempt transactions with any party-in-interest? (Do not include transactions
        reported on line 4a. Attach Schedule G (Form 5500) Part III
        checked.)..................................................................................................................................    4d              <          -123456789012345
   e    Was this plan covered by a fidelity bond? .................................................................................                    4e    <                            
                                                                                                                                                                                  -123456789012345
   f
        by fraud or dishonesty? ...........................................................................................................            4f              <          -123456789012345
   g    Did the plan hold any assets whose current value was neither readily determinable on an
        established market nor set by an independent third party appraiser?........................................                                    4g              <          -123456789012345
   h    Did the plan receive any noncash contributions whose value was neither readily
        determinable on an established market nor set by an independent third party appraiser?.........                                                4h              <          -123456789012345
   i
        and see instructions for format requirements.) ..........................................................................                      4i    <
   j    Were any plan transactions or series of transactions in excess of 5% of the current

        see instructions for format requirements.).................................................................................                    4j              <
   k    Were all the plan assets either distributed to participants or beneficiaries, transferred to another
        plan, or brought under the control of the PBGC? ......................................................................                         4k              <
   l Has the plan failed to provide any benefit when due under the plan?........................................                                       4l              <          -123456789012345
   m If this is an individual account plan, was there a blackout period? (See instructions and 29 CFR
        2520.101-3.) .............................................................................................................................    4m               <
   n
        of the exceptions to providing the notice applied under 29 CFR 2520.101-3. ............................                                        4n
  5a Has a resolution to terminate the plan been adopted during the plan year or any prior plan year?
        If         enter the amount of any plan assets that reverted to the employer this year...........................                             X Yes <
                                                                                                                                                            X No     Amount:-123

  5b    If, during this plan year, any assets or liabilities were transferred from this plan to another plan(s), identify the plan(s) to which assets or liabilities were
        transferred. (See instructions.)


        5b(1) Name of plan(s)                                                                                                                                      5b(2) EIN(s)            5b(3) PN(s)
        ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                         123456789                    123
        ABCDEFGHI ABCDEFGHIABCDEFGHI ABCDEFGHI ABCDEFGHI
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  ABCDEFGHI AB                                                                                                                                                    123456789                    123
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               CDEFGHI ABCDEFGHI     ABCDEFGHI
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                                      ABCDEFGHI    ABCDEFGHI
                                                ABCDEFGHI
        ABCDEFGHI ABCDEFGHI ABCDEFGHI




   5c If the plan is a defined benefit plan, is it covered under the PBGC insurance program (see ERISA section 4021)? ..... X Yes X No X Not determined

 Part V    Trust Information (optional)
 6a Name of trust ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                         6b
 ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
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                         YALE UNIVERSITY
                    RETIREMENT ACCOUNT PLAN

                      FINANCIAL STATEMENTS
                     and Supplemental Schedule

                       June 30, 2014 and 2013




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                                         YALE UNIVERSITY
                                    RETIREMENT ACCOUNT PLAN

                                      FINANCIAL STATEMENTS
                                     and Supplemental Schedule

                                                 INDEX

                                                                               Page

Independent Auditors Report                                                    12

Financial Statements:

   Statements of Net Assets Available for Benefits
       as of June 30, 2014 and 2013                                             3

   Statements of Changes in Net Assets Available for Benefits
      for the year ended June 30, 2014 and 2013                                 4

Notes to Financial Statements                                                  5 13

Supplemental Schedule:

   Form 5500, Schedule H, Line 4i  Schedule of Assets (Held at End of Year)
     as of June 30, 2014                                                       14 16




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                                                                                    +VERX8LSVRXSR004
                                                                                    75 State Street, 13th Floor
                                                                                    Boston, MA 02109
                                                                                    T 617.723.7900
                                                                                    F 617.723.3640
                                                                                    GrantThornton.com
                                                                                    linkd.in/GrantThorntonUS
    Trustees                                                                        twitter.com/GrantThorntonUS

    Yale University Retirement Account Plan

    We were engaged to audit the accompanying financial statements of Yale University Retirement
    Account Plan (the “Plan”), which comprise the statements of net assets available for benefits as
    of June 30, 2014 and the related statement of changes in net assets available for benefits for the
    year then ended and the related notes to the financial statements.


    Management is responsible for the preparation and fair presentation of these financial statements
    in accordance with accounting principles generally accepted in the United States of America; this
    includes the design, implementation, and maintenance of internal control relevant to the
    preparation and fair presentation of financial statements that are free from material misstatement,
    whether due to fraud or error.


    Our responsibility is to express an opinion on these financial statements based on conducting the
    audit in accordance with auditing standards generally accepted in the United States of America.
    Because of the matters described in the Basis for Disclaimer of Opinion paragraph, however, we
    were not able to obtain sufficient appropriate audit evidence to provide a basis for an audit
    opinion.


    As permitted by 29 CFR 2520.103-8 of the Department of Labor’s Rules and Regulations for
    Reporting and Disclosure under the Employee Retirement Income Security Act of 1974, the Plan
    administrator instructed us not to perform, and we did not perform, any auditing procedures with
    respect to the certified information described in Note 7. We have been informed by the Plan
    administrator that the certifying entities meet the requirements of 29 CFR 2520.103-8. The Plan
    administrator obtained certifications from these entities as of June 30, 2014, and for the year then
    ended stating that the certified information provided to the Plan administrator is complete and
    accurate.




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    U.S. member firm of Grant Thornton International Ltd
                                                           C-23
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    The Plan has not maintained sufficient accounting records and supporting documents relating to
    certain contracts and custodial accounts issued to current and former employees prior to July 1,
    2009. Accordingly, we were unable to apply auditing procedures sufficient to determine the extent
    to which the financial statements may have been affected by these conditions.


    Because of the significance of the matters described in the Basis for Disclaimer of Opinion
    paragraph, we have not been able to obtain sufficient appropriate audit evidence to provide a
    basis for an audit opinion. Accordingly, we do not express an opinion on these financial
    statements.


    The financial statements of the Plan as of and for the year ended June 30, 2013 (statement of
    changes not presented) were audited by other auditors. As permitted by 29 CFR 2520.103-8 of
    the Department of Labor’s Rules and Regulations for Reporting and Disclosure under the
    Employee Retirement Income Security Act of 1974 (“ERISA”), the plan administrator instructed
    the other auditors not to perform, and they did not perform, any auditing procedures with respect
    to the certified information. Their report, dated April 3, 2014, indicated that the Plan has not
    maintained sufficient accounting records and supporting documents relating to certain contracts
    and custodial accounts issued to current and former employees prior to July 1, 2009. Because of
    the significance of the information that the other auditors did not audit and because they were
    unable to apply auditing procedures to satisfy themselves as to the appropriateness and
    completeness of the Plan’s net assets available for benefits and changes in net assets available for
    benefits, they were unable to, and did not, express an opinion on the 2013 financial statements.


    The supplemental schedule of Schedule of Assets (held at end of year) is presented for purposes
    of additional analysis and is not a required part of the financial statements, but is supplementary
    information required by the Department of Labor’s Rules and Regulations for Reporting and
    Disclosure under the Employee Retirement Income Security Act of 1974. Because of the
    significance of the matters described in the Basis for Disclaimer of Opinion paragraph, we do
    not express an opinion on the supplemental schedule.




    Boston, Massachusetts
    April 6, 2015




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                                         YALE UNIVERSITY
                                    RETIREMENT ACCOUNT PLAN

                       STATEMENTS OF NET ASSETS AVAILABLE FOR BENEFITS
                                 as of June 30, 2014 and 2013
                                         (in thousands)




                                                                          2014                2013
ASSETS
Investments, at fair value                                              $3,570,561           $3,029,532

Receivables:
  Employer contributions                                                     7,124               6,704
  Participant contributions                                                  7,531               6,852
  Receivable from other employer sponsored plans, net                          711               3,625
     Total receivables                                                      15,366              17,181

Net assets available for benefits                                       $3,585,927           $3,046,713




                The accompanying notes are an integral part of these financial statements.

                                                    3

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                                          YALE UNIVERSITY
                                     RETIREMENT ACCOUNT PLAN

               STATEMENTS OF CHANGES IN NET ASSETS AVAILABLE FOR BENEFITS
                         for the year ended June 30, 2014 and 2013
                                        (in thousands)



                                                                         2014                 2013

ADDITIONS:
 Additions to net assets attributed to:
  Investment and other income:
    Net appreciation in fair value of investments                      $ 392,147             $ 248,650
    Interest and dividend income                                          84,438                61,790
     Other income                                                          1,945                 3,728
       Total investment and other income                                 478,530               314,168
  Contributions:
    Employer                                                               88,383               83,519
    Participant                                                            85,427               79,812
    Rollovers                                                              19,920                5,583
       Total contributions                                                193,730              168,914
       Total additions                                                    672,260              483,082

DEDUCTIONS:
 Deductions from net assets attributed to:
  Benefits paid:
    To participants, beneficiaries or other providers                     123,131              123,763
    To insurance carriers for the provision of benefits                     9,915                8,931
      Total deductions                                                    133,046              132,694
      Net increase                                                        539,214              350,388

Net assets available for benefits:
 Beginning of year                                                      3,046,713             2,696,325
 End of year                                                           $3,585,927            $3,046,713




                The accompanying notes are an integral part of these financial statements.

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                                         YALE UNIVERSITY
                                    RETIREMENT ACCOUNT PLAN

                                 NOTES TO FINANCIAL STATEMENTS
                                          ____________

1. Description of Plan

   The following description of the Yale University Retirement Account Plan (the “Plan”) provides only
   general information. Plan participants should refer to the Plan document for more complete
   information.

       General
       The Plan is a defined contribution plan covering eligible employees of Yale University (the
       “University” or “Plan Administrator”) who have completed at least one hour of employment.
       Eligible employees (“Participants”) include (i) faculty, (ii) officers or senior administrators, (iii)
       managerial and professional staff not currently participating in the Yale University Retirement
       Plan for Staff Employees, and (iv) other employees who upon invitation by the University may
       participate in the Plan. The Plan is subject to the provisions of the Employee Retirement Income
       Security Act of 1974 (“ERISA”), as amended.

       Contributions
       Participants may elect to contribute up to 75 percent (prior to 7/1/2011, the maximum was 50
       percent) of compensation, as defined by the Plan. In addition, employee and employer
       contributions are subject to limitations as defined by the Internal Revenue Code (“IRC”).

       Effective beginning July 1, 2010 and each July thereafter, a participant’s contribution percentage
       is automatically increased by 1 percent to a maximum of 10 percent, if the participant is
       contributing between 5 percent and 9.5 percent. If the employee is contributing between 0
       percent and 4.5 percent, the increase will be to 5 percent. A participant can suspend or reduce
       contributions at any time; however, a refund of contributions made as part of the automatic
       escalation feature is not available.

       Participants direct the investment of their contributions into investment options offered by the
       Plan. The Plan currently offers mutual funds, an insurance company general contract and a
       pooled separate real estate account as investment options for Participants. It is the
       Participant’s responsibility to designate the investment fund(s) offered by Teachers Insurance
       Vanguard Target Retirement Fund. These target retirement funds, also known as “qualified
       default investment alternatives” as described by ERISA, will remain in effect until superseded by
       and Annuity Association College Retirement Equities Fund (“TIAA CREF”) and Vanguard
       Fiduciary Trust Company (“Vanguard”), in which his or her Plan contributions are to be invested.
       Upon enrollment, if the Participant does not designate an investment company, contributions
       are automatically directed to a TIAA CREF Lifecycle Fund. In the event a Participant selects an
       investment company but fails to direct the investment of his or her Plan contributions, the
       Participant’s contributions are automatically invested in either a TIAA CREF Lifecycle Fund or a
                                                     5



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                                         YALE UNIVERSITY
                                    RETIREMENT ACCOUNT PLAN

                         NOTES TO FINANCIAL STATEMENTS, Continued
                                      _____________

1. Description of Plan, Continued

       subsequent election by the Participant. Participants may change elections with regard to future
       Plan contributions; and may reallocate the balance of his or her account among investment
       funds and contracts, as well as between TIAA CREF and Vanguard.

       For each month during which a Participant is an eligible employee, the University makes a Core
       Contribution to the Participant’s account of 5 percent of the eligible employee’s basic
       compensation below the Social Security Wage Base (“SSWB”) and 7.5% of the eligible
       employee’s basic compensation above the SSWB. Additionally, the University matches the
       eligible employee’s contribution dollar for dollar up to 5 percent of the Participant’s basic
       compensation. Basic compensation is compensation which generally excludes additional or
       supplementary earnings, as described by the provisions of the Plan.

       Participants may also contribute amounts representing eligible rollover distributions as defined
       by the IRC. Deposits of such rollover distribution amounts are subject to the provisions of the
       Plan document. Rollover contributions are not matched by the University.

       Participant Accounts
       Separate accounts are established for each Participant. The current value of a Participant’s
       account includes all Plan contributions and credited investment experience less Plan expenses.
       The benefit to which a Participant is entitled is the benefit that can be provided from the
       Participant’s vested account.

       Vesting
       A Participant is immediately vested in 100% of their contributions, the University core and
       matching contributions and the earnings of their account.

       Loans to Participants
       Participants may borrow in accordance with the Plan’s loan program which is administered by
       TIAA CREF. Loans are issued directly from general assets of TIAA CREF and not directly from a
       Participant’s account. Loans are granted for a minimum of $1,000 up to a maximum of $50,000.
       The maximum term of a loan is 5 years, or 10 years if the loan is for the purchase of a primary
       residence. Collateral representing 110 percent of the outstanding loan is required by reserving
       the Participant’s account balance and is included in investments in the accompanying
       Statements of Net Assets Available for Benefits. The interest rate may be fixed or variable; and
       loans outstanding at June 30, 2014 and June 30, 2013 bear interest at rates that range from 4.07
       percent to 6.85 percent and 4.00 percent to 6.85 percent, respectively. Loans of $8.2 million
       and $6.6 million were outstanding at June 30, 2014 and June 30, 2013, respectively. Loans in
       default were $305,213 and $210,731 at June 30, 2014 and June 30, 2013, respectively.
                                                  6



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                                         YALE UNIVERSITY
                                    RETIREMENT ACCOUNT PLAN

                         NOTES TO FINANCIAL STATEMENTS, Continued
                                      _____________

1. Description of Plan, Continued

       Payment of Benefits
       Upon termination of service, retirement, death, or disability, distribution of benefits to
       Participants or beneficiaries will be made based on the provisions of the Plan. The form of the
       payment is based on Participant elections, as outlined in the provisions of the Plan; and may
       include annuities, installment payments, minimum distribution payments and lump sum
       payments.

       Benefits provided by the Plan are not insured or guaranteed.

2. Summary of Accounting Policies

   Basis of Accounting
   The financial statements of the Plan are prepared using the accrual basis of accounting.

   Use of Estimates
   The preparation of the Plan’s financial statements in conformity with accounting principles generally
   accepted in the United States of America requires the Plan Administrator to make estimates and
   assumptions that affect the reported amounts of net assets available for benefits as of the date of
   the financial statements and the changes in net assets available for benefits during the reporting
   period. Actual results could differ materially from those estimates.

   Risks and Uncertainties
   The Plan provides for various investment options. Investment securities are exposed to various
   risks, such as interest rate, market and credit risks. Due to the level of risk associated with
   investment securities, it is at least reasonably possible that changes in the values of investment
   securities will occur in the near term and that such changes could materially affect Participants’
   account balances and the amounts reported in the statements of net assets available for benefits
   and changes in net assets available for benefits.

   Investment Valuation and Income Recognition
   Investments are reported at fair value.

   Registered investment company investments are stated at fair value based on net asset value as
   determined by quoted market prices available on the last day of the Plan year. The fair value of the
   TIAA Traditional Annuities approximates the contract value. The contract value equals the
   accumulated cash contributions and interest credited to the Plan’s contracts less any withdrawals.
   The TIAA Real Estate Pooled Separate Account derives its value from the market value of the
   underlying real estate holdings, other real estate related investments or securities. The real estate
                                                   7



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                                         YALE UNIVERSITY
                                    RETIREMENT ACCOUNT PLAN

                         NOTES TO FINANCIAL STATEMENTS, Continued
                                      _____________

2. Summary of Accounting Policies, Continued

   holdings are valued using external appraisals; and the securities are generally priced using values
   obtained from independent pricing sources. Unit values of the TIAA Real Estate Pooled Separate
   Account are calculated daily.

   Purchases and sales of securities are recorded on a trade date basis. Interest income is recorded as
   earned on an accrual basis. Dividend income is recorded on the ex dividend date.

   The Plan presents in the statements of changes in net assets available for benefits the net
   appreciation (depreciation) in fair value of investments, which consists of both realized gains (losses)
   on investments bought and sold, as well as unrealized gains (losses) on investments held during the
   year.

   Payment of Benefits
   Benefits are recorded when paid.

   Administrative Expenses
   Administrative expenses of the Plan shall be paid by the Plan unless paid by the University. Such
   expenses include any expenses incident to the functioning of the Plan Administrator, including, but
   not limited to, accountants’ fees, legal fees, and other costs of administering the Plan. Effective
   April 2013, expenses deemed reasonable and necessary for the administration and maintenance of
   the Plan are being paid using funds from the Plan’s Revenue Credit Account (“RCA”).

   As a result of the University’s negotiations with TIAA CREF regarding its fees, $1.9 million and $3.7
   million was returned to the Plan as deposits into the RCA for the year ended June 30, 2014 and June
   30, 2013, respectively. These deposits are reflected as other income in the accompanying
   Statements of Changes in Net Assets Available for Benefits. Within the 12 month period following
   each deposit into the RCA, the funds are expected to be utilized to pay expenses of the Plan or
   credited to Plan participant accounts in the form of revenue credits. The revenue credits may be on
   a per capita or pro rata basis at the election of the Plan Sponsor.

   During the plan year ended June 30, 2014 and June 30, 2013, administrative expenses of $167,885
   and $105,796, respectively, were paid by the Plan using RCA funds. These expenses are included in
   net appreciation in fair value of investments. Funds remaining in the RCA are considered assets of
   the Plan; and are included in investments in the accompanying Statements of Net Assets Available
   for Benefits. As of June 30, 2014 and June 30, 2013, the balance in the RCA was $2.9 million and
   $3.7 million, respectively. In December 2014 and December 2013, $3.0 million was credited to Plan
   participant accounts.


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                                                YALE UNIVERSITY
                                           RETIREMENT ACCOUNT PLAN

                             NOTES TO FINANCIAL STATEMENTS, Continued
                                          _____________

3. Investments

   Investments are reported at fair value.

   Fair value is a market based measurement based on assumptions that market participants would
   use in pricing an asset or liability. As a basis for considering assumptions, a three tier hierarchy has
   been established which prioritizes the inputs used in measuring fair value. The hierarchy of inputs
   used to measure fair value includes:

            Level 1  Quoted prices for identical assets in active markets. Market price data is generally
            obtained from relevant exchange or dealer markets.
            Level 2  Inputs, other than quoted prices in active markets, that are observable either
            directly or indirectly, such as quoted prices for similar assets, quoted prices in markets that
            are not active, or other inputs that are observable.
            Level 3  Unobservable inputs in which there is little or no market data, requiring the Plan
            Administrator to develop its own assumptions.


   The following table sets forth by level, within the fair value hierarchy, the Plan’s assets at fair value
   as of June 30, 2014, in thousands of dollars:


                                                       Level 1           Level 2         Level 3         Total

      Registered Investment Companies:
         Domestic Stock Funds                     $     1,462,082    $               $               $   1,462,082
         Balanced Funds                                    505,135                                         505,135
         Bond Funds                                        221,587                                         221,587
         International Stock Funds                         227,288                                         227,288
         Money Market Funds                                 73,463                                          73,463
         Other Funds                                        51,552                                          51,552
         Total registered investment companies          2,541,107                                        2,541,107
      TIAA Traditional Annuity Contracts                                                   912,299         912,299
      TIAA Real Estate Pooled Separate Account                             117,155                         117,155
      Total investments, at fair value            $     2,541,107    $     117,155   $     912,299   $   3,570,561




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                                              YALE UNIVERSITY
                                         RETIREMENT ACCOUNT PLAN

                           NOTES TO FINANCIAL STATEMENTS, Continued
                                        _____________

3. Investments, Continued

   The following table sets forth by level, within the fair value hierarchy, the Plan’s assets at fair value
   as of June 30, 2013, in thousands of dollars:

                                                               Level 1             Level 2        Level 3           Total

      Registered Investment Companies:
          Domestic Stock Funds                        $         1,192,166      $              $                 $   1,192,166
          Balanced Funds                                          363,035                                            363,035
          Bond Funds                                              213,556                                            213,556
          International Stock Funds                               179,252                                            179,252
          Money Market Funds                                       69,440                                             69,440
          Other Funds                                              42,444                                             42,444
          Total registered investment companies                 2,059,893                                           2,059,893
      TIAA Traditional Annuity Contracts                                                           875,155           875,155
      TIAA Real Estate Pooled Separate Account                                       94,484                           94,484
      Total investments, at fair value                $         2,059,893      $     94,484   $    875,155      $   3,029,532


   The TIAA Traditional Annuities provide a guarantee of principal, a guaranteed minimum interest rate
   of 3%, and the potential for additional interest, if declared by the TIAA Board of Trustees. The TIAA
   Traditional Annuities include both benefit responsive and non benefit responsive investment
   contracts. Holdings within illiquid contracts are non benefit responsive. The fair value of non
   benefit responsive investment contracts held at June 30, 2014 and June 30, 2013 was $912.0 million
   and $874.9 million, respectively. The TIAA Traditional Annuity Contract  non benefit responsive
   average yield for the year ended June 30, 2014 and June 30, 2013 was 4.25% and 4.08%,
   respectively. The TIAA Traditional Annuity Contract  benefit responsive average yield for the year
   ended June 30, 2014 and June 30, 2013 was 3.60% and 4.08%, respectively.

   The following table summarizes the Plan’s Level 3 investments at June 30, 2014 for which the fair
   value is based on unobservable inputs, the valuation techniques used to measure fair value of those
   investments, and the ranges of values for the unobservable inputs.

                     Fair Value (in 000's)
     Asset Class       2014         2013     Valuation Technique         Significant Unobservable Input           Range
   TIAA             $ 912,299 $ 875,155      Discounted cash flow        Risk adjusted discount rate        RA 3.00% 5.00%
   Traditional                                                           applied                            GRA 3.00% 5.00%
   Annuity                                                                                                  GSRA 3.00% 4.25%



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                                                  YALE UNIVERSITY
                                             RETIREMENT ACCOUNT PLAN

                               NOTES TO FINANCIAL STATEMENTS, Continued
                                            _____________

3. Investments, Continued

   The following table sets forth a summary of the change in fair value for the Plan’s Level 3 assets for
   the year ended June 30, in thousands of dollars:

                                                                                          2014                      2013
    Beginning balance                                                                     $ 875,155                $ 856,800
    Interest                                                                                  37,982                    35,311
    Purchases                                                                                105,647                   113,060
    Sales                                                                                  (106,485)                 (130,016)
    Ending balance                                                                        $ 912,299                $ 875,155

   The following table sets forth significant terms of the level 2 and level 3 investments:

                                                                              Trade to
                                  Fair Value (in 000's)     Redemption      Settlement                        Redemption
           Investment             2014            2013       Frequency         Terms                          Restrictions
   TIAA Traditional Annuity:
     Non Benefit Responsive     $ 911,994      $ 874,944    Not allowed     1 to 3 days     For Retirement Annuity contracts, lump sum cash
                                                             except as                      withdrawals are not allowed and transfers must
                                                             noted per                      be spread over 10 annual installments. For Group
                                                            redemption                      Retirement Annuity contracts, lump sum
                                                            restrictions                    withdrawals are available only within 120 days
                                                                                            after termination of employment and are subject
                                                                                            to a surrender charge. All other withdrawals and
                                                                                            transfers from the account must be spread over
                                                                                            10 annual installments (over 5 years for
                                                                                            withdrawals after termination of employment).

     Benefit Responsive               305             211    Allowed        1 to 3 days     Transfers and withdrawals are allowed.
                                                              without
                                                            restrictions


   TIAA Real Estate Pooled        117,155          94,484    Daily not to   1 to 3 days     Transfers out of the Real Estate Account are
   Separate Account                                         exceed 1 per                    limited to one per calendar quarter.
                                                              calendar
                                                               quarter
                                $1,029,454     $ 969,639




   The following presents individual investments that represent 5 percent or more of the Plan’s net
   assets as of June 30, in thousands of dollars:
                                                                                                 2014                     2013
    TIAA Traditional Annuity Contracts  Non benefit responsive                               $ 911,994                $ 874,945
    CREF Stock                                                                                  780,008                  672,198
                                                              11



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                                         YALE UNIVERSITY
                                    RETIREMENT ACCOUNT PLAN

                         NOTES TO FINANCIAL STATEMENTS, Continued
                                      _____________

3. Investments, Continued

   The fair value of the Plan’s investments appreciated (depreciated) in value as follows for the year
   ended June 30, in thousands of dollars:
                                                                             2014               2013
    Registered Investment Companies                                         $ 381,176         $ 241,565
    TIAA Real Estate Pooled Separate Account                                   10,971             7,085
                                                                            $ 392,147         $ 248,650

4. Related Party Transactions

   TIAA CREF and Vanguard are approved by the Plan Administrator to issue or establish contracts on
   behalf of Participants. The Plan investments are managed by TIAA CREF or Vanguard. Certain
   investments incur operating expenses such as management, administrative, marketing and
   distribution fees. These operating expenses and participant recordkeeping services provided by
   TIAA CREF and Vanguard qualify as party in interest transactions and are reported as part of the
   investment return.

   Receivable from and/or payable to other employer sponsored plans, net, represents participant
   requested transfers to and from other University sponsored plans that have not been completed by
   the year ended June 30.

5. Plan Termination

   Although it has not expressed any intent to do so, the University has the right to terminate the Plan
   and discontinue contributions completely at any time subject to the provisions of ERISA. Upon
   termination of the Plan, the University has the right to distribute the balance of Participants’
   accounts in a lump sum, if permitted under the terms of the contracts, or by delivery of a fully paid
   annuity contract as permitted under Treasury regulations.

6. Tax Status

   The Plan is intended to satisfy the requirements of Section 403(b) of the Internal Revenue Code (the
   “IRC”) so that any earnings on employer and participant contributions to the Plan are exempt from
   taxes, but are taxable to Plan participants upon distribution. In accordance with Section 403(b) of
   the IRC, all assets of the Plan are held in annuity contracts described in Section 403(b)(1) of the IRC
   or custodial accounts described in Section 403(b)(7) of the IRC. To the best of the Plan
   Administrator’s knowledge, the Plan is and has been administered in accordance with the
   requirements of Section 403(b) of the IRC and, therefore, any earnings on amounts invested in the
   Plan’s investment vehicles are not subject to tax at the Plan level.

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                                        YALE UNIVERSITY
                                   RETIREMENT ACCOUNT PLAN

                         NOTES TO FINANCIAL STATEMENTS, Continued
                                      _____________

7. Summary of Information Certified

   TIAA CREF and Vanguard, as of June 30, 2014 and 2013, and for the years ended June 30, 2014 and
   2013, have certified to the Plan Administrator the following information as complete and accurate.

   Investments
       The fair value of investments, by fund and in the aggregate, and the listing of all purchases and
       sales activity, including realized gains and losses.

   Investment Income
       The amount of interest and dividend income received, and the components of net appreciation
       (depreciation) in the fair value of investments, by fund and in the aggregate.

   Supplemental Schedule
      The information provided on Schedule H, Line 4(i)  Schedule of Assets (Held at End of Year) as
      of June 30, 2014.

   This information was relied upon by the Plan Administrator in the preparation of the Plan’s financial
   statements and related supplemental schedule in accordance with ERISA.

8. Records

   In November 2007, the Department of Labor (“DOL”) issued amended regulations eliminating an
   exemption granted to 403(b) plans from the annual Form 5500 reporting and disclosure
   requirements under Part 1 of Subtitle B of Title I of the Employee Retirement Income Security Act of
   1974, as amended. Prior to the amended regulations, the Plan was not viewed as a separate
   reporting entity. The regulations were effective for plan years beginning on or after July 1, 2009.
   Accordingly, certain records are not available from the inception of the Plan, and the effect, if any,
   on the completeness or accuracy of the Plan’s financial statements cannot be determined.

9. Subsequent Events

   Management has completed its evaluation of potential events and is not aware of any matters
   which would require adjustment or disclosure in the accompanying financial statements. This
   evaluation was completed through April 6, 2015, the date the financial statements were issued.




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                                                               YALE UNIVERSITY
                                                          RETIREMENT ACCOUNT PLAN

                                    FORM 5500, SCHEDULE H, LINE 4i 
                       SCHEDULE OF ASSETS (HELD AT END OF YEAR) AS OF JUNE 30, 2014


                                                                      (c) Description of investment including
                                                                     maturity date, rate of interest, collateral,
(a)     (b) Identity of issue, borrower, lessor, or similar party              par or maturity value                (d) Cost       (e) Current value


      Insurance Company General Contract Account
*      TIAA Traditional Annuity Contract               Non Benefit Responsive                                         **       $           911,993,535
*      TIAA Traditional Annuity Contract               Benefit Responsive                                             **                       305,213
      Total Insurance Company General Contract Account                                                                                     912,298,748

      Pooled Separate Account                                                                                                              117,154,875
*      TIAA Real Estate                                             Pooled Separate Account                           **                   117,154,875
      Total Pooled Separate Account

      Registered Investment Companies
      TIAA CREF Funds
*     CREF Stock                                                    Registered Investment Company                     **                   780,008,064
*     CREF Money Market                                             Registered Investment Company                     **                    48,221,192
*     CREF Social Choice                                            Registered Investment Company                     **                    57,138,200
*     CREF Bond Market                                              Registered Investment Company                     **                    79,512,589
*     CREF Global Equities                                          Registered Investment Company                     **                    93,366,159
*     CREF Growth                                                   Registered Investment Company                     **                    89,797,276
*     CREF Equity Index                                             Registered Investment Company                     **                    61,147,707
*     CREF Inflation Linked Bond                                    Registered Investment Company                     **                    55,103,974
*     Diversified Equity Inv                                        Registered Investment Company                     **                     1,338,178
*     TIAA CREF Lifecycle 2010 Inst                                 Registered Investment Company                     **                     9,818,569
*     TIAA CREF Lifecycle 2015 Inst                                 Registered Investment Company                     **                    11,094,815
*     TIAA CREF Lifecycle 2020 Inst                                 Registered Investment Company                     **                    18,969,098
*     TIAA CREF Lifecycle 2025 Inst                                 Registered Investment Company                     **                    22,728,105
*     TIAA CREF Lifecycle 2030 Inst                                 Registered Investment Company                     **                    29,424,808
*     TIAA CREF Lifecycle 2035 Inst                                 Registered Investment Company                     **                    42,430,376
*     TIAA CREF Lifecycle 2040 Inst                                 Registered Investment Company                     **                    49,565,037
*     TIAA CREF Lifecycle 2045 Inst                                 Registered Investment Company                     **                    15,433,002
*     TIAA CREF Lifecycle 2050 Inst                                 Registered Investment Company                     **                     2,737,022
*     TIAA CREF Lifecycle 2055 Inst                                 Registered Investment Company                     **                     1,540,675
*     TIAA CREF Lfcyle Rtmt Inc Inst                                Registered Investment Company                     **                     1,615,295
*     TIAA CREF Eq Index Inst                                       Registered Investment Company                     **                     9,928,946
*     TIAA CREF Gr & Inc Inst                                       Registered Investment Company                     **                    20,506,107
*     TIAA CREF Intl Eq Inst                                        Registered Investment Company                     **                    20,324,804
*     TIAA CREF Lg Cap Val Inst                                     Registered Investment Company                     **                    21,297,304
*     TIAA CREF Mid Cap Gr Inst                                     Registered Investment Company                     **                    12,073,738
*     TIAA CREF Mid Cap Val Inst                                    Registered Investment Company                     **                    33,987,942
*     TIAA CREF Real Est Secs Inst                                  Registered Investment Company                     **                    13,638,502
*     TIAA CREF Sm Cap Eq Inst                                      Registered Investment Company                     **                    14,238,719
*     TIAA CREF Social Ch Eq Inst                                   Registered Investment Company                     **                    12,657,159
*     TIAA CREF Intl Eq Idx Inst                                    Registered Investment Company                     **                    40,130,112
*     TIAA CREF Lg Cap Gr Idx Inst                                  Registered Investment Company                     **                    11,124,802
*     TIAA CREF Lg Cap Val Idx Inst                                 Registered Investment Company                     **                    12,837,377
*     TIAA CREF S&P 500 Idx Inst                                    Registered Investment Company                     **                     9,842,370
*     TIAA CREF Sm Cap Bl Idx Inst                                  Registered Investment Company                     **                    14,828,713


The above information has been certified as complete and accurate by the Custodians at June 30, 2014.
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                                                               YALE UNIVERSITY
                                                          RETIREMENT ACCOUNT PLAN

                               FORM 5500, SCHEDULE H, LINE 4i 
            SCHEDULE OF ASSETS (HELD AT END OF YEAR) AS OF JUNE 30, 2014, Continued

                                                                      (c) Description of investment including
                                                                     maturity date, rate of interest, collateral,
(a)     (b) Identity of issue, borrower, lessor, or similar party              par or maturity value                (d) Cost   (e) Current value


      Vanguard
*       Vanguard Admiral Trsy MM                                    Registered Investment Company                     **                 1,346,742
*       Vanguard Balanced Ix Inv                                    Registered Investment Company                     **                 8,842,345
*       Vanguard Capital Opportunity                                Registered Investment Company                     **                20,892,026
*       Vanguard Capital Value                                      Registered Investment Company                     **                 3,344,116
*       Vanguard Convertible Sec                                    Registered Investment Company                     **                 4,761,064
*       Vanguard Developed Markets Idx Inv                          Registered Investment Company                     **                 3,321,542
*       Vanguard Div Growth                                         Registered Investment Company                     **                10,321,688
*       Vanguard Emrg Mkts Stk Idx Inv                              Registered Investment Company                     **                13,051,324
*       Vanguard Energy Fund Inv                                    Registered Investment Company                     **                13,962,428
*       Vanguard Equity Income Inv                                  Registered Investment Company                     **                 6,820,950
*       Vanguard Europe Stock Idx Inv                               Registered Investment Company                     **                 5,759,976
*       Vanguard Explorer Fund Inv                                  Registered Investment Company                     **                 8,733,508
*       Vanguard Extend Mkt Index Inv                               Registered Investment Company                     **                13,027,914
*       Vanguard Fed Money Mkt                                      Registered Investment Company                     **                   870,175
*       Vanguard FTSE Soc Ix Inv                                    Registered Investment Company                     **                   723,792
*       Vanguard Global Equity Fund                                 Registered Investment Company                     **                 7,197,997
*       Vanguard GNMA Investor Shares                               Registered Investment Company                     **                 3,943,514
*       Vanguard Growth & Income Inv                                Registered Investment Company                     **                 7,058,628
*       Vanguard Growth Index Inv                                   Registered Investment Company                     **                10,993,476
*       Vanguard Health Care Inv                                    Registered Investment Company                     **                19,698,224
*       Vanguard High Yield Corp Inv                                Registered Investment Company                     **                 9,540,977
*       Vanguard Infla Prot Securities                              Registered Investment Company                     **                10,664,223
*       Vanguard Inst Index Fund                                    Registered Investment Company                     **                64,730,559
*       Vanguard Intl Explorer Fund                                 Registered Investment Company                     **                 5,430,615
*       Vanguard Int'l Growth Fund Inv                              Registered Investment Company                     **                14,465,740
*       Vanguard Intl Value Fund                                    Registered Investment Company                     **                 8,387,204
*       Vanguard IT Bond Index Inv                                  Registered Investment Company                     **                 3,935,688
*       Vanguard IT Inv Grade                                       Registered Investment Company                     **                 6,180,980
*       Vanguard IT Treasury Inv                                    Registered Investment Company                     **                 2,140,057
*       Vanguard Large Cap Index Inves                              Registered Investment Company                     **                 1,793,675
*       Vanguard LifeSt Conserv Growth                              Registered Investment Company                     **                 2,024,725
*       Vanguard LifeSt Growth Fund                                 Registered Investment Company                     **                12,865,922
*       Vanguard LifeSt Income Fund                                 Registered Investment Company                     **                 1,120,968
*       Vanguard LifeSt Mod Growth                                  Registered Investment Company                     **                14,536,768
*       Vanguard LT Bond Index                                      Registered Investment Company                     **                 3,253,780
*       Vanguard LT Inv Grade                                       Registered Investment Company                     **                 3,748,570
*       Vanguard LT Treasury Inv                                    Registered Investment Company                     **                 5,024,771
*       Vanguard Mid Cap Growth Fund                                Registered Investment Company                     **                 4,244,879
*       Vanguard Mid Cap Index Fd Inv                               Registered Investment Company                     **                 8,814,966
*       Vanguard Morgan Growth Inv                                  Registered Investment Company                     **                10,440,097




The above information has been certified as complete and accurate by the Custodians at June 30, 2014.

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                                                              YALE UNIVERSITY
                                                         RETIREMENT ACCOUNT PLAN

                              FORM 5500, SCHEDULE H, LINE 4i 
           SCHEDULE OF ASSETS (HELD AT END OF YEAR) AS OF JUNE 30, 2014, Continued

                                                                     (c) Description of investment including
                                                                    maturity date, rate of interest, collateral,
(a)    (b) Identity of issue, borrower, lessor, or similar party              par or maturity value                (d) Cost       (e) Current value


*      Vanguard Pacific Stk Idx Inv                                Registered Investment Company                     **                    2,485,126
*      Vanguard Precious Metals                                    Registered Investment Company                     **                    3,201,404
*      Vanguard Prime Money Mkt                                    Registered Investment Company                     **                   23,024,989
*      Vanguard PRIMECAP Core Fund                                 Registered Investment Company                     **                    2,279,227
*      Vanguard PRIMECAP Fund Inv                                  Registered Investment Company                     **                   31,890,128
*      Vanguard REIT Index Fund Inv                                Registered Investment Company                     **                   14,690,260
*      Vanguard Selected Value                                     Registered Investment Company                     **                    7,344,750
*      Vanguard Sm Cap Growth Index                                Registered Investment Company                     **                    6,260,567
*      Vanguard Sm Cap Index Inv                                   Registered Investment Company                     **                   10,846,000
*      Vanguard Sm Cap Value Index                                 Registered Investment Company                     **                    6,009,952
*      Vanguard ST Bond Index Inv                                  Registered Investment Company                     **                    2,261,428
*      Vanguard ST Federal Inv                                     Registered Investment Company                     **                    1,850,046
*      Vanguard ST Investment Grd Inv                              Registered Investment Company                     **                    8,102,109
*      Vanguard ST Treasury Inv                                    Registered Investment Company                     **                    2,416,759
*      Vanguard STAR Fund                                          Registered Investment Company                     **                    9,094,159
*      Vanguard Strat Equity Fund                                  Registered Investment Company                     **                    7,176,572
*      Vanguard Target Retirement Inc                              Registered Investment Company                     **                    2,552,120
*      Vanguard Tgt Retirement 2010                                Registered Investment Company                     **                    3,010,727
*      Vanguard Tgt Retirement 2015                                Registered Investment Company                     **                    6,344,162
*      Vanguard Tgt Retirement 2020                                Registered Investment Company                     **                   15,910,126
*      Vanguard Tgt Retirement 2025                                Registered Investment Company                     **                   23,228,731
*      Vanguard Tgt Retirement 2030                                Registered Investment Company                     **                   16,768,912
*      Vanguard Tgt Retirement 2035                                Registered Investment Company                     **                   25,174,922
*      Vanguard Tgt Retirement 2040                                Registered Investment Company                     **                   17,351,171
*      Vanguard Tgt Retirement 2045                                Registered Investment Company                     **                   15,987,487
*      Vanguard Tgt Retirement 2050                                Registered Investment Company                     **                    3,949,493
*      Vanguard Tgt Retirement 2055                                Registered Investment Company                     **                      840,640
*      Vanguard Tgt Retirement 2060                                Registered Investment Company                     **                       99,502
*      Vanguard Total Bd Mkt Indx Inv                              Registered Investment Company                     **                   23,907,178
*      Vanguard Total Int'l Stock Idx                              Registered Investment Company                     **                   18,798,079
*      Vanguard Total Stock Mkt Inv                                Registered Investment Company                     **                   52,531,654
*      Vanguard U.S. Growth Inv                                    Registered Investment Company                     **                    9,468,406
*      Vanguard U.S. Value Fund                                    Registered Investment Company                     **                    2,845,297
*      Vanguard Value Index Inv                                    Registered Investment Company                     **                    6,307,295
*      Vanguard Wellesley Inv                                      Registered Investment Company                     **                   13,738,995
*      Vanguard Wellington Inv                                     Registered Investment Company                     **                   31,780,082
*      Vanguard Windsor II Fund Inv                                Registered Investment Company                     **                   17,940,498
*      Vanguard Windsor Inv                                        Registered Investment Company                     **                   17,215,301
      Registered Investment Companies                                                                                                  2,541,107,582
      Total Investments                                                                                                       $        3,570,561,205

* Represents party in interest
** Not applicable when participant directed




The above information has been certified as complete and accurate by the Custodians at June 30, 2014.
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